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     Co-Lead Counsel for Plaintiffs
16
                               UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18

19    IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
      LIABILITY LITIGATION
20
                                                      Case No. 16-md-02741-VC
21
      This document relates to:                       PLAINTIFFS’ NOTICE OF
22                                                    MOTION AND MOTION IN
      Hardeman v. Monsanto Co., et al.,               LIMINE NO. 7 TO EXCLUDE
23
      3:16-cv-0525-VC;                                EVIDENCE AND ARGUMET
24    Stevick v. Monsanto Co., et al.,                REGARDING UNRELATED
      3:16-cv-02341-VC;                               MEDICAL HISTORY
25    Gebeyehou v. Monsanto Co., et al.,
      3:16-cv-5813-VC
26

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       PLAINTIFFS’ MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
                                  UNRELATED MEDICAL HISTORY
             Case 3:16-md-02741-VC Document 2599 Filed 01/30/19 Page 2 of 7



1
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
2
     PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the United
3
     States District Court, Northern District of California, located at 450 Golden Gate Avenue, San
4
     Francisco, CA 94102, or as ordered by the Court, Plaintiffs will present their Motion in Limine to
5
     Exclude Evidence and Argument Regarding Unrelated Medical History.                 A supporting
6
     memorandum is filed herewith.
7
     Dated: 1/30/2019                                     Respectfully submitted,
8

9                                                         /s/ Aimee Wagstaff
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                                                          /s/ Michael J. Miller
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        PLAINTIFFS’ MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
                                   UNRELATED MEDICAL HISTORY
              Case 3:16-md-02741-VC Document 2599 Filed 01/30/19 Page 3 of 7



1
                    MEMORANDUM OF POINTS AND AUTHORITIES
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            Plaintiffs hereby submit the following memorandum of points and authorities in support of
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     their motion in limine to preclude evidence and argument of Plaintiffs’ unrelated medical history.
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            I.      INTRODUCTION
5
            Defendant has subpoenaed Plaintiff Hardeman’s medical records and has deposed Plaintiff
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     with respect to his lifetime medical history. Plaintiff anticipates that Defendant will seek to
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     introduce evidence of Plaintiff’s unrelated medical history from any point in his entire life
8
     including:
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10
            Occurrence of basal cell carcinoma in 2001;

11          Glaucoma in 2004;

12          Atopic eczema diagnosed in 2006; and

13          Sciatica and corresponding treatment in 2014.

14          These areas of inquiry are unrelated to the NHL and inquiry would result into fishing

15   expeditions, wasting the Court’s time, and result in prejudice to Mr. Hardeman.
16          II.     ARGUMENT
17          Article I, section 1 of the California Constitution guarantees all individuals a right to
18   privacy. A party's medical information is also within the zone of privacy. See, e.g., Cutter v.
19   Brownbridge, 183 Cal.App. 3d 836, 842 (1986); Board of Medical Quality Assurance v.
20   Gherardini, 93 Cal. App. 3d 669, 678 (1979). This includes the privilege to refuse to disclose, and
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     to prevent another from disclosing confidential communications between patients and their
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     physicians.
23
            The physician-patient privilege rests on a two-pronged public policy: fundamentally, to
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     preclude the “humiliation” patients might suffer following disclosure of their ailments; and,
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     secondarily, to encourage the patient's complete and uninhibited disclosure of information
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     necessary for effective diagnosis and treatment of the patient's illness, injuries or medical condition.
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     City & County of San Francisco v. Sup. Ct., 37 Cal.2d 227, 231 P.2d 26, 28 (1951); see also
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        PLAINTIFFS’ MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
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              Case 3:16-md-02741-VC Document 2599 Filed 01/30/19 Page 4 of 7



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     Rudnick v. Sup. Ct. (Atlas Chem. Industries, Inc.), 11 Cal.3d 924, 933, fn. 13 (1974); Division of
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     Med. Quality, Bd. of Med. Quality Assur. v. Gherardini, 93 Cal.App.3d 669, 678-679 (1979)
3
     (“patient should be able to rest assured with the knowledge that ‘the law recognizes the
4
     communications as confidential and guards against the possibility of his feelings being shocked or
5
     his reputation tarnished by their subsequent disclosure’”).
6
             While the privilege may be waived when the particular medical condition is placed at issue
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     by the privilege holder, the exception applies only to communications and information relevant to
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     the very injury or impairment tendered by the patient in the lawsuit. Slagle v. Sup.Ct., (Maryon)
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10
     211 Cal.App.3d 1309, 1313 (1989). The privilege may still be asserted to prevent disclosure of the

11   patient's medical history that is not directly relevant to the action. Britt v. Sup.Ct. (San Diego

12   Unified Port Dist.) 20 Cal.3d 844, 863-864 (1978). Thus, a plaintiff's personal injury lawsuit does

13   not place in issue the plaintiff’s lifetime medical history. Likewise, Defendant, in turn, is not

14   automatically entitled to disclosure of the names of all physicians the patient has consulted for

15   examination or treatment of conditions existing prior to the subject incident. Hallendorf v. Sup.
16   Ct., (Pflibsen) (1978) 85 Cal.App.3d 553, 557. Inquiry into information subject to the
17   constitutional right of privacy is improper unless the inquirer can establish a compelling need for
18   the information and that it is directly relevant. Davis v. Sup. Ct., 7 Cal.App.4th 1008, 1014 (1992)
19   (emphasis added); Lantz v. Superior Court, 28 Cal.App. 4th 1839, 1853 (1994); Britt, supra, 20
20   Cal.3d at 859; Tylo v. Sup. Ct., 55 Cal.App.4th 179, 1387 (1997). Further, even though Plaintiff is
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     seeking emotional stress damages, Defendant is not permitted to engage in a “fishing expedition”
22
     seeking all other potential stressors in Plaintiff's life. Id. at 1388.
23
             In addition to violating his privacy rights under California law, which controls all claims
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     of privilege under federal law (See FRE 501), Plaintiff’s medical history that is unrelated to his
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     NHL diagnosis is irrelevant. FRE 401 (Evidence is relevant if (a) it has any tendency to make a
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     fact more or less probable than it would be without the evidence; and (b) the fact is of consequence
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     in determining the action.) There is no probative value in the introduction of unrelated physical
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        PLAINTIFFS’ MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
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     conditions. Downing v. Barrett Mobile Home Transport, Inc., 38 Cal. App. 3d 519, 525 (1974).
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     The policy basis of this prohibitory rule rests on the fact that the probative force of this kind of
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     evidence is too slight to overbear the dangers of prejudice, distraction by side issues, and unfair
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     surprise. Id. Accordingly, because his past medical history that is unrelated to Mr. Hardeman’s
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     NHL diagnosis is irrelevant and thus inadmissible, and inquiry therein would constitute a breach
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     of his constitutional right to privacy, it should be excluded.
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            III.    CONCLUSION
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            For the foregoing reasons, Plaintiff respectfully requests that this Court exclude the
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10
     evidence as requested.

11   Dated: 1/30/2019                                       Respectfully submitted,

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                                   UNRELATED MEDICAL HISTORY
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     PLAINTIFFS’ MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
                                UNRELATED MEDICAL HISTORY
             Case 3:16-md-02741-VC Document 2599 Filed 01/30/19 Page 7 of 7



1
                                    CERTIFICATE OF SERVICE
2
            I certify that on January 30, 2019, I electronically filed the foregoing document with the
3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
4
     CM/ECF participants registered to receive service in this MDL.
5

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                                                        /s/ Aimee Wagstaff______________
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       PLAINTIFFS’ MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND ARGUMENT REGARDING
                                  UNRELATED MEDICAL HISTORY
